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                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO
______________________________________

MELODY JOY CANTU AND DR. RODRIGO                  5:20-CV-0746 JKP – HJB
CANTU,

Plaintiffs,

v.

DR. SANDRA GUERRA AND DIGITAL
FORENSICS CORPORATION, LLC,

Defendants.


______________________________________




NOTICE OF INTENT TO TAKE ORAL AND VIDEOTAPED DEPOSITION OF
                     DR. SANDRA GUERRA
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TO:    Dr. Sandra Guerra, by and through her counsel of record Ricardo G. Cedillo, Email:
       rcedillo@lawdcm.com and Brandy Peery, Email: bpeery@lawdcm.com, DAVIS,
       CEDILLO & MENDOZA, INC. 755 E. Mulberry, Suite 250, San Antonio, Texas 78212.



       Please take notice that pursuant to Federal Rule of Civil Procedure 30 and the Scheduling

Order Dkt. 89, regarding the discovery period, Plaintiffs Melody Joy Cantu and Dr. Rodrigo

Cantu, intent to take the oral and/or videotaped deposition of Defendant, DR. SANDRA

GUERRA, before a notary public pr some other officer authorized by law to administer oaths, at

9:00 a.m. on Thursday, July 21, 2022, by remote means via a videoconferencing platform.


       The deposition, when taken, may continue from day to day until completed, and will be

taken by stenographic means and videoconferencing examination with the answers to be used in

the final trial of the above-styled and numbered cause. You are invited to have counsel present

for purposes of cross-examination.




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DEPOSITION OF DR. SANDRA GUERRA
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Dated: July 14, 2022                        Stipulated and respectfully submitted,

                                            /s/ Tor Ekeland

                                            Tor Ekeland (NY Bar No. 4493631)
                                            Pro Hac Vice
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                                            and

                                            /s/ Rain Levy Minns

                                            Rain Minns
                                            State Bar No. 24034581
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                                            Counsel for Plaintiffs Melody Joy Cantu
                                            and Dr. Rodrigo Cantu




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                                       Certificate of Service

I certify that on this 14th of July 2022, a true and correct copy of the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system which will send electronic

notification of such filing to the parties on record.


                                                                              /s/ Tor Ekeland




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NOTICE OF INTENT TO TAKE THE ORAL AND VIDEOTAPED
DEPOSITION OF DR. SANDRA GUERRA
